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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                       Plaintiffs,                                     8:17CR59

         vs.
                                                                        ORDER
CHRISTINA WALKER,

                       Defendant.


     UPON THE MOTION OF THE DEFENDANT, (Filing No.68), and no objection from the
government,


     IT IS ORDERED:
     1. The Unopposed Motion to Continue Change of Plea Hearing [68] is granted.
     2. The Change of Plea hearing is continued to February 1, 2018 at 10:30 a.m. before
Magistrate Judge Michael D. Nelson, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska.
     3. For this defendant, the time between today’s date and the change of plea hearing is
excluded for purposes of computing the limits under the Speedy Trial Act. See 18 U.S.C. §
3161(h)(7)(A), (B)(i). The Court finds that the ends of justice served by the granting of such
continuance outweigh the best interests of the public and the defendant in a speedy trial for the
reason that defendant has been approved for a diversion program and further time is required for
him to complete such program.
     4. No further continuances will be granted, absent unusual circumstances.
     5. Since this is a criminal case, the defendant must be present, unless excused by the
Court.
         Dated this 12th day of January, 2018.

                                                       BY THE COURT:

                                                       s/ Michael D. Nelson
                                                       United States Magistrate Judge
